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            NOTE: This order is nonprecedential.


   United States Court of Appeals
       for the Federal Circuit
                   ______________________

      TAU-KEN TEMIR LLP, JSC NMC TAU-KEN
        SAMRUK, MINISTRY OF TRADE AND
       INTEGRATION OF THE REPUBLIC OF
                 KAZAKHSTAN,
               Plaintiffs-Appellants

                              v.

   UNITED STATES, GLOBE SPECIALTY METALS,
        INC., MISSISSIPPI SILICON LLC,
               Defendants-Appellees
              ______________________

                         2022-2204
                   ______________________

    Appeal from the United States Court of International
 Trade in No. 1:21-cv-00173-LMG, Senior Judge Leo M.
 Gordon.
                 ______________________

                       ON MOTION
                   ______________________

                         ORDER
      Appellants move for a two-week extension of time, un-
 til February 14, 2023, to file their opening brief. Appel-
 lants state that appellees consent to the motion if given the
 due date of May 22, 2023, for their response briefs.
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 2                                   TAU-KEN TEMIR LLP   v. US



     Upon consideration thereof,
     IT IS ORDERED THAT:
    The motion is granted to the extent that appellants’
 opening brief is due no later than February 14, 2023, and
 appellees’ response briefs are due no later than May 22,
 2023.
                                    FOR THE COURT

 January 31, 2023                   /s/ Peter R. Marksteiner
       Date                         Peter R. Marksteiner
                                    Clerk of Court
